Case 2:05-cr-20110-.]DB Document 113 Filed 08/31/05 Page 1 of 2 Page|D 119

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE FII.ED 511 /\

 

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UNITED sTATEs oF AMERICA, nJ,@… v _. 1
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Plainciff, ".'i? ‘ , 113
v. No. 05-20110-B/P
oMRAN OMER,
Defendant.
0RDER oF REFERENCE

 

Before the court is the Motion to Allow the Defendant to Travel out of the Country filed
on August 26, 2005.

This motion is referred to the United States Magistrate Judge for a hearing and
determination Any objections to the magistrate judge’s order shall be made within ten (10) days
after service of the order, setting forth particularly those portions of the order objected to and
the reasons for the objections

IT rs So 0RDERED this 31 day Of August, 2005.

 

J DANIEL BleEN \
NI Er) STATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 113 in
case 2:05-CR-20110 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

